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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                                :       Hon. Douglas E. Arpert

                v.                                      :      Mag. No. 12-2573 (DEA)

TONY F. MACK,
 a/k/a “Honey Fitz,”
 a/k/a ‘the Little Guy:
 a/k/a “Napoleon,”
JOSEPH A. GIORGIANNI,
 a/k/a “JoJo”
 a/k/a ‘Mr. Baker,”
 a/k/a “the Fat Man,” and
RALPHIEL MACK                                       :          CONTINUANCE ORDER


                This matter having come before the Court on the joint application of Paul J.

Fishman, United States Attorney for the District of New Jersey (by Eric W. Moran and Matthew

J. Skahill, Assistant U.S. Attorneys), and the above captioned defendants through their attorneys,

for an order granting a continuance of the proceedings in the above-captioned matter so that the

defendants will have additional time to consult with respective counsel, the opportunity to meet

with the Government to discuss the charges and review pre-indictment discovery and so that the

parties may discuss a pre-indictment resolution to this matter; and each defendant being aware

that he has the right to have the matter submitted to a grand jury within thirty days of the date of

his initial appearance pursuant to Title 18, United States Code, Section 3161(b); and each

defendant, whose attorney has signed below, having consented to the continuance and waived

such right; and this being the first continuance sought by the parties, and for good cause shown;
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                IT IS THE FNDING OF THIS COURT that this action should be continued for

 the following reasons:

                (1)       Each defendant, whose attorney has signed below, through his counsel, has

requested additional time to consult with counsel and in order to allow the opportunity to meet

with the Government to discuss the charges and review pre-indictment discovery;

                (2)       The United States and the defendant have jointly represented that the

parties desire additional time to discuss a pre-indictment resolution to this matter, which would

render any subsequent trial of this matter unnecessary; and

               (3)        Pursuant to Title 18, United States Code, Section 3161(h)(7), the ends of

justice served by granting the continuance outweigh the best interest of the public and the

defendant in a speedy trial.

               IT IS, therefore, on this   ,f day of September, 2012,
               ORDERED that this action be, and it hereby is, continued from September 25,

2012 through and including November 26, 2012; and it is further

               ORDERED that the period from September 25, 2012 through and including

November 26, 2012 shall be excludable in computing time under the Speedy Trial Act of 1974.



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                                                    HON. DOUtA E. ARPERT
                                                    United Sta(es Ma strate Judge




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     Matthew 3. Sk*1jU
     Assisnt U.S. Attorneys




     counsel orrony Mack




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   John Hartmann, Esq,
   Counsel for RaIphe1 Mack




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     Form and entry
     consented to:




     EricWMoran
     Maflhew L Skahiil
     Assistant US Attcirneys




     Mark Davis, Esq
     Counsel for Tony ifriack




     Brian Reilly, Esq.
     Counsel for Joseph    Giorgianni




     Jo Hartmann,
     Counsel for Ralph ci Mack




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